                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


MIGUEL GONZALEZ-VALENCIA,

                         Petitioner,

          v.                                                    Case No. 19-C-1686

SHERIFF DALE J. SCHMIDT,

                         Respondent.


                                       SCREENING ORDER


          Petitioner Miguel Gonzalez-Valencia, who is a noncitizen and currently detained at Dodge

Detention Center (Dodge), filed an emergency petition for a writ of habeas corpus pursuant to

28 U.S.C. § 2241 on November 14, 2019. Petitioner requests that the court issue an emergency writ

of habeas corpus to temporarily release him so he can have emergency gallbladder surgery at his

own expense. Petitioner claims his care at Dodge has been inadequate and life threatening.

Petitioner has been scheduled for gallbladder surgery on November 27, 2019, but Dodge will not

release the location of the surgery, according to Petitioner. Petitioner’s family and attorney request

permission to visit the hospital during Petitioner’s surgery. Petitioner is detained at Dodge pending

an immigration hearing on his request to remain in the United States; the hearing date has not yet

been scheduled.

          Pursuant to Rule 1(b) of the Rules Governing § 2254 Cases, this court applies Rule 4 of such

rules, providing for a prompt preliminary review of habeas petitions for habeas corpus, to this case.

Based on the allegations in the petition, I cannot conclude that Petitioner is plainly not entitled to

relief.



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       The Clerk of Court is directed to serve the petition and copy of this Order on Dale Schmidt,

the Sheriff responsible for the Dodge Detention Center. Pursuant to Federal Rule of Civil Procedure

4(i), the Clerk of Court is also directed to send a copy of the petition and this Order to the United

States Attorney of this District, United States Department of Homeland Security, United States

Immigration and Customs Enforcement, and United States Department of Justice. The Clerk of

Court is further directed to place this matter on the court’s schedule for a telephone conference.

       SO ORDERED at Green Bay, Wisconsin, this 18th day of November, 2019.

                                              s/ William C. Griesbach
                                              William C. Griesbach, District Judge
                                              United States District Court




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